                               UNITED STATES
               Case 1:05-cr-00204-AWI DocumentDISTRICT COURT
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                              EASTERN DISTRICT OF CALIFORNIA

                                        MEMORANDUM

Honorable Anthony W. Ishii
United States District Judge
Fresno, California

                                               RE:    FRANCISCO TORRES
                                                      Docket Number: 1:05CR00204-08 AWI
                                                      CONTINUANCE OF JUDGMENT
                                                      AND SENTENCE

Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced case be
continued from May 15, 2006 to May 30, 2006 at 9:00 a.m.

REASON FOR CONTINUANCE:

The probation officer is requesting additional time to complete the presentence report, all parties
have agreed to a continuation of judgment and sentencing.

                                      Respectfully Submitted,



                                      /S/ Robyn A. Marootian
                                     ROBYN A. MAROOTIAN
                               Senior United States Probation Officer

Dated:        March 9, 2006
              Fresno, California
              RAM:dp

Reviewed by:
                    /S/ James E. Herbert
                    JAMES E. HERBERT
                    Supervising United States Probation Officer



IT IS SO ORDERED.

Dated:    March 10, 2006                       /s/ Anthony W. Ishii
0m8i78                                   UNITED STATES DISTRICT JUDGE




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                                                                                           C O N T .M R G
